






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00221-CV






Peter D. Wagner, Appellant


v.


Travelers Lloyds of Texas Insurance Company, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT

NO. D-1-GN-07-001770, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		On July 14, 2009, this Court notified appellant that the clerk's record in the above
cause was overdue.  This Court requested that appellant make arrangements for the record and
submit a status report regarding this appeal on or before July 24, 2009.  This Court further informed
appellant that failure to do so may result in the dismissal of this appeal for want of prosecution.  The
deadline has passed, and we have received no response from appellant.  Accordingly, we dismiss the
appeal for want of prosecution.  See Tex. R. App. P. 42.3(b). 


						__________________________________________

						Bob Pemberton, Justice

Before Justices Patterson, Puryear and Pemberton

Dismissed for Want of Prosecution

Filed:   August 31, 2009


